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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 17-1042V
                                     Filed: August 19, 2019
                                         UNPUBLISHED


    SERGIO FLORES,

                        Petitioner,
    v.                                                       Special Processing Unit (SPU); Joint
                                                             Stipulation on Damages; Influenza
    SECRETARY OF HEALTH AND                                  (Flu) Vaccine; Guillain-Barre
    HUMAN SERVICES,                                          Syndrome (GBS)

                       Respondent.


Neal A. Markowitz, Thorsnes Bartolotta McGuire LLP, San Diego, CA, for petitioner.
Althea Walker Davis, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION1

Dorsey, Chief Special Master:

        On August 2, 2017, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10, et seq.,2 (the “Vaccine
Act”). Petitioner alleges that he suffered Guillain-Barre Syndrome (“GBS”) as a result of
an influenza vaccination received on November 18, 2015. Petition at 1; Stipulation, filed
August 14, 2019, at ¶¶ 2-4. Petitioner further alleges that the vaccine was administered
in the United States, that his GBS has persisted for more than six months, and that
neither petitioner nor any other party has filed an action for petitioner’s vaccine-related
injury. Petition at 4, 6; Stipulation at ¶¶ 3-5. “Respondent denies that petitioner
suffered a Table injury, and denies that the flu vaccine caused petitioner’s alleged GBS
or any other injury or his current condition. ” Stipulation at ¶ 6.


1 The undersigned intends to post this decision on the United States Court of Federal Claims' website.
This means the decision will be available to anyone with access to the internet. In accordance with
Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the
undersigned agrees that the identified material fits within this definition, the undersigned will redact such
material from public access. Because this unpublished decision contains a reasoned explanation for the
action in this case, undersigned is required to post it on the United States Court of Federal Claims'
website in accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services).
2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C.
§ 300aa (2012).
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        Nevertheless, on August 14, 2019, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. The undersigned
finds the stipulation reasonable and adopts it as the decision of the Court in awarding
damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, the undersigned
awards the following compensation:

        A lump sum of $95,000.00 in the form of a check payable to petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of
        damages that would be available under § 15(a). Id.

       The undersigned approves the requested amount for petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment in accordance with this decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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                  N THE UNITED STATES COURT OF FEDERAL CLAIMS
                            OFFICE OF SPECIAL MASTERS

SERGIO FLORES,                                 )
                                               )
               Petitioner,                     )      No. 17-1042V
                                               )      Chief Special Master
       V.                                      )      Nora Beth Dorsey/SPU
                                               )      ECF
SECRETARY OF HEALTH                            )
AND HUMAN SERVICES,                            )
                                               )
               Respondent.                     )


                                          STIPULATION

       The parties hereby stipulate to the following matters:

        I. Sergio Flores, petitioner, filed a petition for vaccine compensation under the National

Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-l Oto 34 (the "Vaccine Program").

The petition seeks compensation for injuries allegedly related to petitioner' s receipt of the

influenza ("flu") vaccine, which vaccine is contained in the Vaccine Injury Table (the "Table"),

42 C.F.R. § 100.3 (a).

       2. Petitioner received the flu vaccine on November 18, 2015.

        3. The vaccine was administered within the United States.

       4. Petitioner alleges that he suffered Guillain-Barre syndrome ("OBS") as the result of

his flu vaccination. Alternatively, petitioner further alleges that he sustained a Table injury

resulting in OBS. Petitioner further alleges that he suffered the residual effects of his alleged

injury for more than six months.

        5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages on his behalf as the result of his alleged vaccine injury.
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        6. Respondent denies that petitioner suffered a Table injury, and denies that the flu

vaccine caused petitioner's alleged GBS or any other injury or his current condition.

        7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

        8. As soon as practicable after an entry of judgment reflecting a decision consistent with

the terms of this Stipulation, and after petitioner has tiled an election to receive compensation

pursuant to 42 U.S.C. § 300aa-2 I (a)(t ), the Secretary of Health and Human Services will issue

the following vaccine compensation payment:

        A lump sum of $95,000.00 in the form of a check payable to petitioner. This amount
        represents compensation for all damages that would be available under 42 U.S.C. §
        300aa-l5(a).

        9. As soon as practicable after the entry of judgment on entitlement in this case, and after

petitioner has filed both a proper and timely election to receive compensation pursuant to 42

U.S.C. § 300aa-21 (a)( I), and an application, the parties will submit to further proceedings before

the special master to award reasonable attorneys' fees and costs incurred in proceeding upon this

petition.

        I 0. Petitioner and his attorney represent that they have identified to respondent all known

sources of payment for items or services for which the Program is not primarily liable under 42

U.S.C. § 300aa-15(g), including State compensation programs, insurance policies, Federal or

State health benefits programs (other than Title XlX of the Social Security Act (42 U.S.C§ 1396

et seq.)), or entities that provide health services on a pre-paid basis.

        11. Payments made pursuant to paragraph 8 and any amounts awarded pursuant to

paragraph 9 of this Stipulation will be made in accordance with 42 U.S.C. § 300aa-l 5(i), subject


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to the availability of sufficient statutory funds.

        12. The parties and their attorneys further agree and stipulate that, except for any award

for attorney's fees and litigation costs, the money provided pursuant to this Stipulation will be

used solely for the benefit of petitioner as contemplated by a strict construction of 42 U.S.C. §

300aa-15(a) and (d), and subject to the conditions of 42 U.S.C. § 300aa-15(g) and (h).

        13. In return for the payments described in paragraphs 8 and 9, petitioner, in his

individual capacity, and on behalf of his heirs, executors, administrators, successors or assigns,

does forever irrevocably and unconditionally release, acquit and discharge the United States and

the Secretary of Health and Human Services from any and al I actions or causes of action

(including agreements, judgments, claims, damages, loss of services, expenses and all demands

of whatever kind or nature) that have been brought, could have been brought, or could be timely

brought in the Court of Federal Claims, under the National Vaccine Injury Compensation

Program, 42 U.S.C. § 300aa-10 et seq., on account of, or in any way growing out of, any and all

known or unknown, suspected or unsuspected personal injuries to or death of petitioner resulting

from, or alleged to have resulted from, the flu vaccination administered on November 18, 2015,

as alleged in a petition for vaccine compensation filed on or about August 2, 2017, in the United

States Court of Federal Claims as petition No. l 7-1042V.

        14. If petitioner should die prior to entry of judgment, this agreement shall be voidable

upon proper notice to the Court on behalf of either or both of the parties.

        15. If the special master fails to issue a decision in complete conformity with the terms

of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity with a

decision that is in complete conformity with the terms of this Stipulation, then the parties'

settlement and this Stipulation shall be voidable at the sole discretion of either party.


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        16. This Stipulation ex.presses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above. There is absolutely no agreement on the pa11 of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties' respective positions as to liability and/or

amount of damages.

       17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the flu vaccine caused petitioner's alleged GBS or

any other injury or his current condition.

        I 8. All rights and obligations of petitioner hereunder shall apply equally to petitioner's

heirs, executors, administrators, successors, and/or assigns.

                                     END OF STIPULATION

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Respectfully submitted,

PETITIONER:



SERGid'FLORES

ATTORNEY OF RECORD FOR                         AUTHORIZED REPRESENTATIVE
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                      ,                        ~ RINE E. REEVES
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AUTHORIZED REPRESENTATIVE OF                   ATTORNEYOFRECORDFOR
THE SECRETARY OF HEALTH AND                    RESPONDENT:
HUMAN SERVICES:



TAMARA OVERBY
Acting Director, Division of Injury
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                                                                      •
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Dated:    /L/   ¥         ~     /
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